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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE

 KATHERINE LONDRES
                                                )
                PLAINTIFF                       )
                                                )
 v.                                             )
                                                )
 OMNI LOUISVILLE, LLC                           )
      4002 Maple Avenue Suite 600               )
      Dallas, Texas 75219                       )
                                                )
 Serve:                                         )
          Corporation Service Company           )
          Registered Agent                      )
          421 West Main Street                  ) CIVIL ACTION NO. __
                                                                   3:20-cv-830-BJB
                                                                      _____________
          Frankfort, Kentucky 40601             )
                                                )
 LINCOLN BP MANAGEMENT, INC.                    )
      P.O. Box 1920                             )
      Dallas, Texas 75221                       )
                                                )
 Serve:                                         )
          CT Corporation System                 )
          Registered Agent                      )
          306 W. Main Street                    )
          Suite 512                             )
          Frankfort, Kentucky 40601             )
                                                )
                DEFENDANTS                      )

                                  VERIFIED COMPLAINT

       Plaintiff, Katherine Londres (“Londres”) by and through counsel, for her Verified

Complaint against the Defendants Omni Louisville, LLC, (“Omni”) and Lincoln BP Management,

Inc. (“Lincoln” and collectively “Defendants”), hereby states as follows:

                                           PARTIES

       1.      Plaintiff Katherine Londres currently resides in Jefferson County (Louisville),

Kentucky.
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        2.      Defendant Omni Louisville, LLC is a foreign limited liability company authorized

to conduct business in the Commonwealth of Kentucky.

        3.      Defendant Lincoln BP Management, Inc. is a foreign corporation authorized to

conduct business in the Commonwealth of Kentucky.

                                      JURISDICTION AND VENUE

        4.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 inasmuch

as the matter arises under the laws of the United States, as well as 28 U.S.C. § 1332 in that the

amount in controversy exceeds $75,000 and diversity of citizenship amongst the parties.

        5.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because Londres

resides in this judicial district and because a substantial part of the events giving rise to this claim

occurred in this judicial district.

                                      FACTUAL BACKGROUND

        6.      Londres is an adult female with permanent physical disabilities as a paraplegic such

that she is confined to a wheelchair.

        7.      In or around September of 2019, Londres traveled from the Philadelphia area to

Louisville, Kentucky along with her parents seeking medical treatment and rehabilitation services

for her physical disabilities at the Frazier Rehabilitation Institute (“Frazier”).

        8.      The Louisville Omni Hotel (“Hotel”), owned by Defendant Omni, is located in

downtown Louisville and in close proximity to Frazier.

        9.      Hotel is a mixed use development that in addition to having hotel rooms, also

contains a restaurant, grocery store, multiple bars, and a bowling alley to name a few of its many

amenities accessible to the public.

        10.     Also located in the Hotel building are luxury apartment units called “The




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Residences at Omni Louisville” (“The Residences”).                The Residences are also owned by

Defendant Omni. It is Londres’s understanding and belief that Lincoln is the property manager of

The Residences as agent and on behalf of Defendant Omni.

       11.     Londres’s medical care in Louisville for her disability is an ongoing process and as

such, she needed a place to live that is both safe and conveniently located to Frazier.            The

Residences, which includes access to the Hotel and its many aforementioned amenities, appeared

to be the best fit for Londres so it seemed.

       12.     In September of 2019 Londres became an occupant of The Residences along with

her parents, and is where she currently resides as of the filing of this Complaint. A thirteen (13)

month lease was executed in September, 2019 followed by a fifteen (15) month lease executed in

August of this year.

       13.     Londres found shortly after becoming an occupant at The Residences that it, as well

as the Hotel, do not have any common areas that are accessible to individuals with physical

disabilities that confine them to a wheelchair. As a result, Londres’s movement and enjoyment of

The Residences and/or Hotel is substantially limited and adversely hindered without the help of

others. Also, Londres’s safety is compromised when she cannot enter or move freely throughout

the building and at times has to rely on a stranger to help her get into the building.

       14.     The Londres family on numerous occasions both verbally and in writing

communicated to Lincoln the lack of handicap accessible doors and access points throughout The

Residences and Hotel.

       15.      The     Londres    family      requested   that     structural   modifications   and/or

accommodations be made by Omni throughout The Residences and Hotel so that Katherine – and

any other resident or patron with physical disabilities – could freely (and safely) navigate and move




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throughout the building like any nondisabled individual.

       16.     The Londres family’s requests for accommodations and/or architectural

modifications went on for several months with the Defendants. Lincoln representatives repeatedly

communicated to the Londres family that their accommodation requests were submitted to Omni

who was supposedly “looking into the matter”.

       17.     Frustrated by the constant inaction and delays on part of the Defendants, Plaintiff

retained undersigned counsel in an attempt to resolve the unsavory discriminatory practices she

was being subjected to at the hands of the Defendants.

       18.     On around November 20, 2020 undersigned counsel sent correspondence to both

Omni and Lincoln. The correspondence, among other things, went into great detail regarding: the

door locations throughout the building that were not handicap accessible and as a result needed

accommodations and/or modifications; the numerous prior communications (verbal and oral)

between the Londres’s family and Lincoln representatives regarding the accessibility issues and

need for accommodations for the Plaintiff; and reference to state and federal laws Defendants

violated as a result of their lack of handicap accessible areas throughout the building. Last, the

letter requested a suitable response within ten (10) days of its receipt to resolve these issues. A

copy of undersigned counsel’s correspondence to the Defendants is attached herein at Exhibit A.

       19.     As of the filing of this lawsuit, Defendants have still done nothing to address and

resolve the discriminatory issues stated herein for Plaintiff. Such inaction represents an outright

refusal by Defendants to right an unlawful wrong and leaves Plaintiff no choice but to file this

lawsuit.




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                                     CAUSES OF ACTION

                                            COUNT I:

       DEFENDANTS VIOLATED 42 U.S.C. §3604 OF THE FAIR HOUSING ACT
                BY DISCRIMINATING AGAINST LONDRES.

       20.     Londres restates and incorporates by reference paragraphs 1 through 19 of this

Verified Complaint as fully set forth herein.

       21.     Londres is “handicapped” as that term is defined under 42 U.S.C. §3602.

       22.     Londres’s multiple requests to the Defendants for reasonable accommodations

and/or modifications to structures in the building so she could move freely and safely throughout

The Residences and/or Hotel like any other non-disabled person were reasonable and necessary.

       23.     Londres’s accommodation and/or modification requests have been ignored by

Defendants.

       24.     Without the accommodations and/or modifications requested by Londres being

implemented by the Defendants she has been, and continues to be, discriminated against and

denied an equal opportunity to enjoy both The Residences and Hotel facilities like any other

nondisabled person pursuant to 42 U.S.C. §3604 of the Fair Housing Act.

                                           COUNT II:

                       DEFENDANTS VIOLATED TITLE III
             OF THE AMERICAN WITH DISABILITIES ACT, 42 U.S.C. §12182

       25.      Londres restates and incorporates by reference paragraphs 1 through 24 of this

Verified Complaint as fully set forth herein.

       26.     Londres suffers from a “disability” as that term is defined under Title III, Subpart

A of the Americans with Disabilities Act, 28 CFR §36.105.

       27.     Defendants own, lease, and/or operate The Residences and Hotel which both

contain places of public accommodation.


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       28.     Defendants discriminated against Londres on the basis of her disability and she was

therefore precluded from full and equal enjoyment of public accommodation at either The

Residences and/or Hotel pursuant to Title III of the ADA, 42 U.S.C. §12182.

       29.     Defendants failed to remove the architectural barriers that exist at The Residences

and/or Hotel as a reasonable accommodation and/or modification even though such removal is

readily achievable and necessary.

                                           COUNT III:

             DEFENDANTS VIOLATED THE KENTUCKY CIVIL RIGHTS ACT

       30.     Londres restates and incorporates by reference paragraphs 1 through 29 of this

Verified Complaint as fully set forth herein.

       31.     Londres has a “disability” as that term is defined under KRS 344.010 of the

Kentucky Civil Rights Act (“KCRA”).

       32.     Defendants refused to make reasonable accommodations and/or modifications that

would provide Londres similar and equal opportunity to use and enjoy Hotel’s and/or The

Residence’s common access points and doorways pursuant to KRS 344.360.

       33.     Defendants have, and continue, to discriminate against Londres based on her

disability in violation of the KCRA.

                                           COUNT IV:

               INTENTIONAL INFLICITON OF EMOTIONAL DISTRESS

       34.     Londres restates and incorporates by reference paragraphs 1 through 33 of this

Verified Complaint as fully set forth herein.

       35.     Defendants behavior in not addressing Londres’ reasonable accommodations

and/or modifications is intentional and reckless.




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        36.     Defendants’ egregious behavior has caused Londres severe emotional distress

regarding her unacceptable living conditions.

                                             COUNT V:

                                      PUNITIVE DAMAGES

        37.     Londres restates and incorporates by reference paragraph 1 through 36 of this

Verified Complaint as fully set forth herein.

        38.     Defendants’ discriminatory acts described herein against Londres were acts

performed intentionally, willfully, recklessly and maliciously in derogation of Plaintiff’s rights.

        39.     Defendants’ failure to provide accommodations and/or modifications to The

Residences and/or Hotel required by law as described herein was performed intentionally,

willfully, recklessly and maliciously such that Plaintiff has not been able to fully enjoy and utilize

either facility as individuals without disabilities are able to do so.

        40.     Plaintiff is entitled to an award of punitive damages against Defendants as well as

associated costs, including attorney fees.

                                      PRAYER FOR RELIEF

     WHEREFORE, Plaintiff, Katherine Londres respectfully requests that this Court grant:

                A.      Permanent injunctive relief requiring Defendants to modify all applicable

access structures as described herein that are in violation of: Title III of the Americans with

Disabilities Act, Fair Housing Act, and Kentucky Civil Rights Act;

                B.      Judgment against Defendants in an amount to be determined to cover all

compensatory and punitive damages resulting from their unlawful, discriminatory acts as

described herein;

                C.      A trial by jury on all triable issues;

                D.      Award Plaintiff her attorney fees; and


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               E.      Any and all other legal and equitable relief the Court deem proper and

appropriate for which Plaintiff is entitled.

                                                   Respectfully submitted,

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